The statutory history on which this case is based is clearly set forth in the majority opinion. The question presented is, in my opinion, a close one and difficult to determine. I am convinced, however, that it should be held that, by the 1939 amendment, which is here controlling, the legislature set up blocks of twenty-five thousand dollars, or multiples of that sum, upon which the tax on inheritances passing to class A, as defined in the act, should be computed, and that the legislature did not intend that the "exempt $10,000" to class A beneficiaries should be deducted from the first block of twenty-five thousand dollars upon which the tax must be paid. The exempt amount constitutes a "block" of a different kind, not to be considered in computing the tax.
By the 1939 act, it appears to me that the legislature returned to the principle of the former acts, which had been construed by this court In re Sherwood's Estate, 122 Wn. 648,211 P. 734, cited and discussed in the majority opinion.
The judgment appealed from should be reversed.
MILLARD, SIMPSON, and DRIVER, JJ., concur with BEALS, J. *Page 379 